                   Case 2:20-cv-00887-RAJ Document 92 Filed 08/04/20 Page 1 of 6




 1                                                          THE HONORABLE RICHARD A. JONES
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                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9   BLACK LIVES MATTER SEATTLE-                       No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                           JOINT STATEMENT ON
     KYASHNA-TOCHA, ALEXANDER                          PROCEDURAL MATTERS FOR
11   WOLDEAB, NATHALIE GRAHAM,                         EVIDENTIARY HEARING ON
     AND ALEXANDRA CHEN,                               CONTEMPT
12
                             Plaintiffs,
13
              v.
14
     CITY OF SEATTLE, SEATTLE POLICE
15   DEPARTMENT,
16                           Defendant.
17

18            Pursuant to the Court’s Minute Order (Dkt. 90), Plaintiffs Black Lives Matter Seattle-
19   King County, Abie Ekenezar, Sharon Sakamoto, Muraco Kyashna-tochá, Alexander Woldeab,
20   Nathalie Graham, and Alexandra Chen, and Defendant City of Seattle (collectively the “Parties”)
21   submit the following Joint Statement on procedural matters related to the evidentiary hearing on
22   Plaintiffs’ motion for a finding of civil contempt:
23            A.       Presentation of Evidence via Video Technology
24            The five-day evidentiary hearing is set for August 26 to September 1, 2020, and all
25   proceedings will be held via Zoom videoconference as directed by the Court (Dkt. 89). The
26   Parties will host trial exhibits on which they may rely at the hearing—including documents,
      JOINT STATEMENT RE PROCEDURAL
      MATTERS (No. 2:20-cv-00887-RAJ) –1                                       Perkins Coie LLP
                                                                         1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
     149094726.1                                                              Fax: 206.359.9000
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 1   video, or photographic evidence—on their respective computers, to be shared on the Zoom
 2   platform at appropriate points in the hearing.
 3            B.       Time Management
 4            The Parties will be allotted equal time (approximately 2.5 court days) to present evidence
 5   and argument. The Parties’ allotted time will be tracked by the Courtroom Deputy using “chess-
 6   clock” style management, with a Party’s time running during direct and re-direct of the Party’s
 7   own witnesses, and cross-examination of the other side’s witnesses, as well as during its opening
 8   statement and closing argument (and other arguments that might arise during the hearing). Each
 9   side will have a maximum of twenty (20) minutes for an opening and thirty (30) minutes for
10   closing argument. Time used by the Court in questioning witnesses, if any, will be considered
11   direct examination, and therefore allotted to (i.e., deducted from) the Party presenting that
12   witness.
13            C.       Form and Authentication of Evidence
14            The Parties agree to a “hybrid” approach to introducing witness testimony, meaning that
15   such testimony may be introduced either live (via Zoom) or by sworn written declarations. The
16   declarations a Party intends to rely upon must be served on the opposing side no later than the
17   Initial Disclosure dates set by the Court (August 5 for Plaintiffs; August 12 for Defendant).
18   Those declarations must be submitted to the Court as attachments to the Joint Witness and
19   Exhibit List that, per Dkt. 90, must be filed by noon on August 18, 2020. The Parties agree that,
20   as admitted evidence, the declarations (including attached photographic exhibits or embedded
21   video links, if any), may be referred to and displayed during opening and closing arguments, and
22   may be presented verbatim or displayed (in whole or in part) by counsel during that Party’s case-
23   in-chief.
24            The Parties agree to promptly confer regarding the evidence identified by each side
25   (including video), to determine whether they will stipulate to authenticity and admissibility.
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                                                                          1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
                                                                              Phone: 206.359.8000
     149094726.1                                                               Fax: 206.359.9000
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 1            D.       Review and Production of Police Video
 2            The Parties continue to discuss the scope of the production of police video.

 3            Plaintiffs believe that, consistent with Defendant’s representations at the July 31 hearing

 4   and the Court’s Minute Orders (Dkt. 89 and Dkt. 90), Defendant should produce relevant police

 5   body-worn video evidence as part of its Initial Disclosures by noon on August 12, 2020.

 6   Plaintiffs have communicated to Defendant the categories of video evidence that they regard as

 7   relevant to the matters in controversy at the evidentiary hearing, and have requested that all such

 8   relevant video be included in Defendant’s August 12 production.

 9            Defendant is reviewing video and expects to communicate to Plaintiff its position on the

10   scope of its anticipated production within the next 24 hours. Defendant agrees not to withhold

11   any relevant footage that it comes across during the course of Defendant’s review.

12            The parties are still discussing their respective interpretations of what is relevant to this

13   proceeding and how such relevant videos will be marked for production, and which types of

14   videos would qualify. If the Parties are unable to agree on the scope of the production, Plaintiffs

15   intend to request a brief telephonic conference with the Court to obtain clarification on that

16   important issue.

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                                                                             1201 Third Avenue, Suite 4900
                                                                               Seattle, WA 98101-3099
                                                                                 Phone: 206.359.8000
     149094726.1                                                                  Fax: 206.359.9000
                   Case 2:20-cv-00887-RAJ Document 92 Filed 08/04/20 Page 4 of 6




 1
     DATED: August 4, 2020                       By: s/ David A. Perez
 2                                               By: s/ Joseph M. McMillan
 3                                               By: s/ Carolyn S. Gilbert
                                                 By: s/ Nitika Arora
 4                                               By: s/ Heath Hyatt
                                                 By: s/ Paige L. Whidbee
 5                                               David A. Perez #43959
                                                 Joseph M. McMillan #26527
 6
                                                 Carolyn S. Gilbert #51285
 7                                               Nitika Arora #54084
                                                 Heath Hyatt, #54141
 8                                               Paige L. Whidbee, # 55072

 9                                               Perkins Coie LLP
                                                 1201 Third Avenue, Suite 4900
10                                               Seattle, WA 98101-3099
                                                 Telephone: 206.359.8000
11                                               Facsimile: 206.359.9000
                                                 Email: DPerez@perkinscoie.com
12                                                        JMcMillan@perkinscoie.com
                                                          CarolynGilbert@perkinscoie.com
13                                                        NArora@perkinscoie.com
                                                          HHyatt@perkinscoie.com
14                                                        PWhidbee@perkinscoie.com

15
                                                 By: s/ Molly Tack-Hooper
16                                               By: s/ Nancy L. Talner
                                                 By: s/ Lisa Nowlin
17
                                                 By: s/ Breanne Schuster
18                                               By: s/ John Midgley
                                                 Molly Tack-Hooper, #56356
19                                               Nancy L. Talner #11196
                                                 Lisa Nowlin #51512
20                                               Breanne Schuster #49993
                                                 John Midgley, #6511
21
                                                 American Civil Liberties Union of
22                                               Washington Foundation
                                                 P.O. Box 2728
23                                               Seattle, WA 98111
                                                 Telephone: (206) 624-2184
24                                               Email: mtackhooper@aclu-wa.org
                                                          talner@aclu-wa.org
25                                                        lnowlin@aclu-wa.org
                                                          bschuster@aclu-wa.org
26                                                        jmidgley@aclu-wa.org
      JOINT STATEMENT RE PROCEDURAL
      MATTERS (No. 2:20-cv-00887-RAJ) –4                                Perkins Coie LLP
                                                                  1201 Third Avenue, Suite 4900
                                                                    Seattle, WA 98101-3099
                                                                      Phone: 206.359.8000
     149094726.1                                                       Fax: 206.359.9000
                   Case 2:20-cv-00887-RAJ Document 92 Filed 08/04/20 Page 5 of 6




 1
                                                 By: s/ Robert S. Chang
 2
                                                 By: s/ Melissa Lee
 3                                               By: s/ Jessica Levin
                                                 Robert S. Chang, #44083
 4                                               Melissa Lee #38808
                                                 Jessica Levin #40837
 5
                                                 Fred T. Korematsu Center for Law and
 6                                               Equality
                                                 Ronald A. Peterson Law Clinic
 7                                               Seattle University School of Law
                                                 1112 E. Columbia Street
 8                                               Seattle, WA 98122
                                                 Telephone: 206.398.4025
 9                                               Fax: 206.398.4077
                                                 Email: changro@seattleu.edu
10
                                                 Attorneys for Plaintiffs Black Lives Matter
11                                               Seattle-King County, Abie Ekenezar, Sharon
                                                 Sakamoto, Muraco Kyashna-tochá, Alexander
12                                               Woldeab, Nathalie Graham, and Alexandra
                                                 Chen
13
                                                 By: s/ Ghazal Sharifi
14                                               By: s/ Carolyn Boies
                                                 Ghazal Sharifi, #47750
15
                                                 Carolyn Boies, #40395
16
                                                 Seattle City Attorney’s Office
17                                               701 Fifth Avenue, Suite 2050
                                                 Seattle, WA 98104
18                                               Telephone: (206) 684-8200
                                                 Email: Ghazal.Sharifi@seattle.gov
19                                                      Carolyn.Boies@seattle.gov

20                                               Attorneys for Defendant City of Seattle

21
                                                 By: s/ Robert L. Christie
22                                               By: s/ Thomas P. Miller
                                                 By: s/ Ann E. Trivett
23                                               By: s/ Megan M. Coluccio
                                                 Robert L. Christie, #10895
24                                               Thomas P. Miller, #34473
                                                 Ann E. Trivett, #39228
25                                               Megan M. Coluccio, #44178

26                                               Christie Law Group, PLLC
                                                 2100 Westlake Avenue N., Suite 206
      JOINT STATEMENT RE PROCEDURAL
      MATTERS (No. 2:20-cv-00887-RAJ) –5                                  Perkins Coie LLP
                                                                   1201 Third Avenue, Suite 4900
                                                                     Seattle, WA 98101-3099
                                                                       Phone: 206.359.8000
     149094726.1                                                        Fax: 206.359.9000
                   Case 2:20-cv-00887-RAJ Document 92 Filed 08/04/20 Page 6 of 6




 1                                               Seattle, WA 98109
                                                 Telephone: (206) 957-9669
 2                                               Email: bob@christielawgroup.com
                                                    tom@christielawgroup.com
 3                                                  ann@christielawgroup.com
                                                    megan@christielawgroup.com
 4
                                                 Attorneys for Defendant City of Seattle
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                                                                   1201 Third Avenue, Suite 4900
                                                                     Seattle, WA 98101-3099
                                                                       Phone: 206.359.8000
     149094726.1                                                        Fax: 206.359.9000
